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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED S'I`ATES OF AMERICA

 

-vs- Case No. 2:05cr20108-Ma

ALFRED JAMISON

 

ORDER OF DETENT|ON PEND|NG TRlAL
FIN D|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

ALFRED JAMISON is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. ALFRED JAMISON shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: July 6, 2005 é.jzm @,`

S. THOMAS ANDERSON
UNITED STA'I`ES MAGISTRATE IUDGE

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This notice confirms a copy of the document docketed as number 13 in
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Honorable Samuel Mays
US DISTRICT COURT

